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                         UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF MISSISSIPPI
                              NORTHERN DIVISION

SECURITIES AND EXCHANGE                     No: 3:18-cv-252
COMMISSION,
                                            Carlton W. Reeves, District Judge
          Plaintiffs,

     v.

ARTHUR LAMAR ADAMS AND
MADISON TIMBER PROPERTIES, LLC,

          Defendants.




                              RECEIVER’S REPORT

                                 October 19, 2018




                                            /s/ Alysson Mills
                                     Alysson Mills, Miss. Bar No. 102861
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                                     201 St. Charles Avenue, Suite 4600
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                                     Receiver for Arthur Lamar Adams and
                                     Madison Timber Properties, LLC
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Introduction

       For many years Arthur Lamar Adams, through his company Madison Timber Properties,
LLC, operated a Ponzi scheme that defrauded hundreds of investors. On May 9, 2018, he
pleaded guilty to the federal crime of wire fraud.

       On June 22, 2018, the Court appointed me Receiver of the estates of Adams and Madison
Timber (“Receivership Estate”). The order of appointment sets forth my responsibilities and
duties. Among other things, the order instructs me to take any action necessary and appropriate
to preserve the assets of Adams and his businesses, to maximize funds available for distributions
to victims.

       The Court instructed me to file a report of my progress every 60 days. I filed my first
report on August 21, 2018 (updated August 29, 2018). My first report summarized background
facts, my duties, my actions to date, my preliminary findings, my preliminary plan, and my
recommendations, all as of August 21, 2018.

       This, my second report, picks up where my first report left off. It does not repeat the
same information, except as necessary for context. It contains the following parts:

                                                                      page
                      Recent filings or events                          3
                      Receiver’s actions in the past 60 days           10
                      Receiver’s plan for the next 60 days             15
                      Summary of known assets                          18


       As always, my reports are for the Court’s benefit, but I write them for a broader audience,
knowing that they may be read by non-lawyers including victims. I remain sensitive to potential
ongoing criminal investigations and do not disclose information that might impair their progress.




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Recent filings or events

       United States v. Adams, No. 3:18-cr-88

       The Court scheduled Adams’s sentencing for October 29, 2018, at 10:00 a.m., in
Courtroom 5B. The sentencing is open to the public.


       Securities & Exchange Commission vs. Adams, et al., No. 3:18-cv-252

       There have been no public filings or events.


       Alysson Mills vs. Michael D. Billings, et al., No. 3:18-cv-679

       On October 1, 2018, I filed a complaint against Michael D. Billings and MDB Group,
LLC; Terry Wayne Kelly, Jr. and Kelly Management, LLC; and William B. McHenry, Jr. and
First South Investments, LLC. Select filings, including the complaint, are available at
madisontimberreceiver.com.

       The complaint alleges the defendants identified new investors for Madison Timber, and
for each investment made by an investor he personally recruited, each defendant received a cut
of the investor’s payment to Madison Timber. Over time, the defendants received more than
$16,000,000 in Madison Timber “commissions.” The complaint alleges the following facts:

                                               13.

               Beginning in approximately 2004, Adams, through Madison Timber, operated a
       Ponzi scheme that purported to purchase timber from Mississippi landowners and resell it
       to Mississippi lumber mills at higher prices.

                                               14.

                Investors in Madison Timber delivered to Madison Timber large sums of money,
       typically in excess of $100,000 dollars, in reliance on the promise that Madison Timber
       would repay them their principal plus interest of not less than 12% per annum, and
       sometimes as much as 20% per annum. The promised interest invariably far exceeded
       the interest any investor might receive on any other collateralized investment.

                                               15.

               Investors believed that Madison Timber would use their money to acquire timber
       deeds and cutting agreements from Mississippi landowners; that Madison Timber would
       then sell the timber to Mississippi lumber mills at a higher price; and that with the

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 proceeds of those sales Madison Timber would repay investors their principal and
 promised interest.

                                         16.

         In exchange for their investments, investors in the Madison Timber Ponzi scheme
 received a promissory note in the amount of their investment, payable in twelve monthly
 installments together with the promised interest; twelve pre-dated checks, each in the
 amount of the installment due under the promissory note; a timber deed and cutting
 agreement by which a named landowner purported to grant to Madison Timber the rights
 to harvest timber on the land described in the deed; and a timber deed and cutting
 agreement by which Madison Timber purported to grant its own rights to the investor.

                                         17.

         Investors did not know that, in fact, the timber deeds and cutting agreements that
 they received were fake.

                                         18.

        Investors did not know that because Madison Timber had no, or virtually no,
 revenues whatsoever, investors were being repaid with new investors’ money.

                                         19.

         Each month, Madison Timber required more and more new investors to repay
 existing investors. Defendants identified new investors and sold to them Madison
 Timber investments.

                                         20.

         For each investment made by an investor he personally recruited, each Defendant
 received a cut of the investor’s payment to Madison Timber. Over time, Defendants
 received more than $16,000,000 in Madison Timber “commissions.”

                                         21.

        In April 2018, on the heels of investigations of him by the F.B.I. and the U.S.
 Attorney’s Office for the Southern District of Mississippi, Adams turned himself in.

                                         22.

         The U.S. Attorney’s Office for the Southern District of Mississippi charged
 Adams with two counts of wire fraud and one count of bank fraud in connection with a
 broader scheme to defraud. Among other things, the bill of information states that as
 “part of the scheme and artifice to defraud” Adams “paid commissions to recruiters who
 referred investors to [him]”:

         The commissions were paid from investors’ money. For example,
         ADAMS paid one recruiter approximately two million four hundred
         forty-five thousand four hundred and forty-nine dollars ($2,445,449) in


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               commissions in 2017 alone. ADAMS paid another recruiter
               approximately one million six hundred twenty-eight thousand one
               hundred dollars ($1,628,100) in commissions in 2017 . . . .

                                                  23.

               Separately, the S.E.C. charged Adams with violations of the Securities Act of
       1933 and Securities & Exchange Act of 1934, alleging in its complaint that “[b]eginning
       in approximately 2004,” Adams, through Madison Timber, “committed securities fraud
       by operating a Ponzi scheme.”

                                                  24.

               On May 9, 2018, Adams pleaded guilty to the federal crime of wire fraud in
       connection with his operation of the Madison Timber Ponzi scheme. The fact that
       Madison Timber was a Ponzi scheme is not in dispute.



       My desire is to resolve the Receivership Estate’s claims against each of the defendants
efficiently, to minimize time and expense to the Receivership Estate. Before I filed the
complaint, I invited each defendant to join me in the filing of a motion that proposes terms by
which the parties might attempt to negotiate a settlement. I agreed to suspend further litigation
against a defendant if the defendant waived certain procedural objections and agreed to 1) make
a full and complete financial disclosure, 2) commit to negotiate in good faith, and 3) preserve
assets pending negotiations.

       Billings (and MDB Group) did not join my motion. Relevant to Billings, the complaint
alleges the following facts:

               FACTUAL ALLEGATIONS RELEVANT TO BILLINGS AND MDB GROUP

                                                  25.

                Billings became a recruiter for Madison Timber by no later than 2012, while he was
       employed by Butler Snow Business Advisory Services, LLC (“Butler Snow”). Madison Timber
       paid Butler Snow a monthly retainer for “strategic business development, strategic
       financing/capital strategies and overall management advisory” services. Butler Snow and Billings
       introduced Madison Timber to potential investors and Madison Timber paid Butler Snow and
       Billings a “success fee” when an investor invested.

                                                  26.

               In December 2013, Billings left Butler Snow for the prospect of recruiting new investors
       to Madison Timber fulltime. Adams agreed to pay Billings 2%, and later 2.5%, of each dollar of
       each investment made by an investor that Billings personally recruited. In addition, Madison


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 Timber paid Billings a fee of $10,000, and later $12,500, a month. These agreements were
 honored until the collapse of the Ponzi scheme in April 2018.

                                               27.

          Among Adams’s “bird dogs,” Billings was a standout. On information and belief, when
 Adams met Billings in 2012, Madison Timber had annual investments of approximately
 $15,000,000. With Billings’s help, the Ponzi scheme ballooned. Billings targeted large investors
 in Texas and California, often dropping certain investors’ names to attract new investors. On
 information and belief, Billings personally “booked” more than $80,000,000 in investments in
 2017 alone. Billings was always hunting for “more, and more and more!!”

                                               28.

           Billings promoted Madison Timber as a safe and secured investment that paid interest at
 rates that substantially exceeded market interest rates. In a typical presentation, Billings told the
 investor that the investment was safe because Madison Timber had longstanding relationships
 with Mississippi lumber mills that would pay a premium to lock-down timber rights. Billings
 explained that proceeds from the sale of timber would pay the investor monthly installments of
 one-twelfth of their principal investment, plus interest.

                                               29.

          Billings told the investor that a default was highly unlikely, but in the event of a default,
 the investor would be fully protected because his or her promissory note was secured by his or her
 own timber deed and cutting agreement that the investor could liquidate for whatever remaining
 amount Madison Timber owed. In fact, the timber deeds and cutting agreements were worthless.

                                               30.

          A cursory inspection of Madison Timber’s operations would have revealed Madison
 Timber to be a classic Ponzi scheme. Among other things, Billings knew or should have been
 aware of each of the following—any one of which is suspicious standing alone, but taken together
 clearly evidence a fraud:

          a)   The timber deeds and cutting agreements between landowners and Madison
               Timber were fake. Indeed the landowners’ signatures, forged by Adams, often
               looked the same. A call to any one of the hundreds of purported landowners, or
               a simple check of the title for any one of the hundreds of purported tracts of
               land, would have confirmed the truth.

          b) Madison Timber had no contracts with lumber mills. A call to any one of the
             lumber mills for which Madison Timber purported to have supply agreements
             would have confirmed the truth.

          c)   Madison Timber required that an investor agree that he or she would not record
               the deed by which Madison Timber purported to grant its own rights to the
               investor unless and until Madison Timber failed to make a payment due under
               the promissory note.

          d) The interest rate that Madison Timber paid was typically 300% to 400% of that
             payable by any other fully collateralized investment.

          e)   Madison Timber purported to have identified lumber mills with insatiable
               demand for timber and at uniform prices. The market price for timber is readily


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                     available from multiple sources, and any one of those sources would have
                     confirmed that the market price for timber rises and falls, sometimes
                     dramatically, over short periods of time.

                f)   In October 2016, Madison Timber abruptly changed banks, and each recruiter
                     was responsible for collecting within a short period of time all outstanding pre-
                     dated checks from his individual investors and then reissuing new pre-dated
                     checks drawn from Madison Timber’s new account at a different bank.
                     Billings’s investors transacted their business via wires. Billings told his
                     investors that “[o]ur banker of some twenty plus years left Trustmark Bank, and
                     we of course went with him.”

                                                     31.

                Moreover, Billings was paid to understand Madison Timber’s business. At Butler Snow,
       Billings provided “strategic business development, strategic financing/capital strategies and
       overall management advisory” services to Madison Timber. Billings knew or should have known
       that Madison Timber was a Ponzi scheme. At a bare minimum, in inducing persons to invest,
       Billings was reckless and indifferent as to the existence of the Ponzi scheme.

                                                     32.

                In August 2017, Billings celebrated his “fifth anniversary” with Madison Timber. He
       thanked Adams for the “exceptional association and collaboration” and said “it is truly amazing
       what we have accomplished together.” He reflected: “I can’t decide whether ‘The Odd Couple’,
       Grumpy Old Men’ . . . or at this point perhaps just ‘Big’ would be the best title to describe us. . . .
       I can only conclude that it is ‘A God Thing’!!”

                                                     33.

                Between 2013 and April 2018, Billings induced dozens of persons to invest in Madison
       Timber. In exchange, he and MDB Group received Madison Timber “commissions” of not less
       than $3,513,780.

                                                     34.

                On information and belief, between 2013 and April 2018, Billings’s Madison Timber
       “commissions” made up all or virtually all of MDB Group’s income. MDB Group had no other
       business; it was funded solely with proceeds of the Madison Timber Ponzi scheme. It had no
       operations and no employees. Billings was MDB Group’s sole manager and member, and
       directed the disbursement of MDB Group’s income to himself.




       Kelly (and Kelly Management) and McHenry (and First South Investments) joined my
motion, and we separately undertook a 14-day negotiation.

       On October 17, 2018, I advised the Court that my negotiations with Kelly were
productive and it is likely that the Receivership Estate and Kelly soon will agree to a proposed
settlement that I can recommend to the Court. I advised the Court that the Receivership Estate



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and McHenry are unable to reach a settlement at this time and that I would amend the complaint
accordingly.

       On the same day, October 17, 2018, I amended my complaint to allege further factual
allegations against McHenry. Relevant to McHenry, the amended complaint now alleges the
following facts:

          FACTUAL ALLEGATIONS RELEVANT TO MCHENRY AND FIRST SOUTH

                                                37.

               McHenry became a recruiter for Madison Timber by no later than 2010.
       McHenry demanded, and Adams agreed to pay to McHenry, 10% of each dollar of each
       investment made by an investor that McHenry personally recruited. Upon information
       and belief, the agreement was not committed to writing but was honored until the
       collapse of the Ponzi scheme in April 2018.

                                                38.

                Many of McHenry’s investors were elderly retirees. On information and belief,
       he met some of them in older adult Sunday school classes. McHenry cultivated
       relationships with these individuals by visiting them, praying with them, bestowing gifts
       on them—even taking them hunting when they could no longer go by themselves. These
       individuals could not afford to risk their life savings on purported timber investments, but
       McHenry gained their trust and then took their money. It is alleged that in one instance,
       McHenry, after learning at church that one couple was suffering financial difficulties,
       presented himself as an answer to their prayers. Allegedly, he told the couple that God
       had led him to contact them. These individuals have been devastated by this Ponzi
       scheme. The stress has negatively impacted their health, and some struggle now to pay
       for basic necessities.

                                                39.

               McHenry promoted Madison Timber as a safe and secured investment that paid
       interest at rates that substantially exceeded market interest rates. In a typical
       presentation, McHenry told the investor that the investment was safe because Madison
       Timber had longstanding relationships with Mississippi lumber mills that would pay a
       premium to lock-down timber rights. McHenry explained that proceeds from the sale of
       timber would pay the investor monthly installments of one-twelfth of their principal
       investment, plus interest.

                                                40.

                McHenry told the investor that a default was highly unlikely, but in the event of a
       default, the investor would be fully protected because his or her promissory note was
       secured by his or her own timber deed and cutting agreement that the investor could
       liquidate for whatever remaining amount Madison Timber owed. In fact, the timber deeds
       and cutting agreements were worthless.

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                                        41.

         A cursory inspection of Madison Timber’s operations would have revealed
 Madison Timber to be a classic Ponzi scheme. Among other things, McHenry knew or
 should have been aware of each of the following—any one of which is suspicious
 standing alone, but taken together clearly evidence a fraud:

        a) The timber deeds and cutting agreements between landowners and
           Madison Timber were fake. Indeed the landowners’ signatures, forged
           by Adams, often looked the same. A call to any one of the hundreds of
           purported landowners, or a simple check of the title for any one of the
           hundreds of purported tracts of land, would have confirmed the truth.

        b) Madison Timber had no contracts with lumber mills. A call to any one of
           the lumber mills for which Madison Timber purported to have supply
           agreements would have confirmed the truth.

        c) Madison Timber required that an investor agree that he or she would not
           record the deed by which Madison Timber purported to grant its own
           rights to the investor unless and until Madison Timber failed to make a
           payment due under the promissory note.

        d) The interest rate that Madison Timber paid was typically 300% to 400%
           of that payable by any other fully collateralized investment.

        e) Madison Timber purported to have identified lumber mills with
           insatiable demand for timber and at uniform prices. The market price for
           timber is readily available from multiple sources, and any one of those
           sources would have confirmed that the market price for timber rises and
           falls, sometimes dramatically, over short periods of time.

        f) In October 2016, Madison Timber abruptly changed banks, and each
           recruiter was responsible for collecting within a short period of time all
           outstanding pre-dated checks from his individual investors and then
           reissuing new pre-dated checks drawn from Madison Timber’s new
           account at a different bank.

                                        42.

        McHenry, in fact, shared a small office with Adams and so would have observed
 Adams fabricating timber deeds and cutting agreements. Certainly he would have
 observed the stacks of fake documents that littered the office.

                                        43.

         Between 2010 and April 2018, McHenry induced approximately twenty people
 to invest in Madison Timber. In exchange, he and First South received Madison Timber
 “commissions” of not less than $3,473,320.




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                                              44.

               Upon information and belief, between 2010 and April 2018, McHenry’s Madison
       Timber “commissions” made up all or virtually all of First South’s income. First South
       had no other business; it was funded solely with the proceeds of the Madison Timber
       Ponzi scheme. It had no operations and no employees. McHenry was First South’s sole
       manager and member, and directed the disbursement of First South’s income to himself.


       Along with the amended complaint, I also filed a motion for preliminary injunction that
seeks an order restraining Billings and McHenry from dissipating any assets, or any assets
traceable to assets, they received from Madison Timber.

       As of this report’s filing, neither Billings nor McHenry has responded to the amended
complaint or the motion for preliminary injunction.


Receiver’s actions in the past 60 days

       Since I filed my first report on August 21, 2018, I have:


       Filed Alysson Mills vs. Michael D. Billings, et al., No. 3:18-cv-679

       As summarized above, I filed a lawsuit to recover “commissions” from Billings, Kelly,
and McHenry. The complaint and related filings are available at madisontimberreceiver.com.

       On October 17, 2018, I advised the Court that my negotiations with Kelly were
productive and it is likely that the Receivership Estate and Kelly soon will agree to a proposed
settlement that I can recommend to the Court.


       Accounted for “commissions”

       I previously reported that I had issued notices to known recruiters. The notices advised
that I was undertaking an accounting of “commissions” paid to them by Adams or Madison
Timber; that any “commissions” were paid with stolen money; and that I intend to take any and
all action necessary to return that money to the Receivership Estate.

       As summarized above, I filed a lawsuit to recover “commissions” from Billings, Kelly,
and McHenry. The complaint and related filings are available at madisontimberreceiver.com.

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       There are more recruiters, and even sub-recruiters. To date, I have identified at least ten.
As I have identified new recruiters, I have issued new notices. I anticipate that I will file new
complaints as I make complete accountings for “commissions” paid.


       Accounted for gifts to Adams’s family

       I previously reported that I had issued notices to Adams’s family. The notices advised
that I was undertaking an accounting of gifts made to them by Adams or Madison Timber; that
any gifts of money were gifts of stolen money; and that I intend to take any and all action
necessary to return that money to the Receivership Estate.

       Since then I have undertaken an accounting of gifts of money to Adams’s wife and
children using bank statements from Adams’s accounts at various banks. I have determined that
in the past five years Adams made cash gifts worth at least $213,000 to his children. I shared this
accounting with Adams’s children, and they have expressed their desire to cooperate with my
recovery. I continue to account for gifts of money to Adams’s wife.


       Accounted for gifts to the University of Mississippi

       I previously reported that I had identified substantial gifts to the Ole Miss Athletic
Foundation—at least $49,900 in 2016 and $47,100 in 2017—and that I had advised the
University of Mississippi that these gifts were made with stolen money and I intend to take any
and all action necessary to return that money to the Receivership Estate.

       I requested an accounting by the University of Mississippi of all gifts it received from
Adams. The accounting reflects that in the past ten years Adams gave $402,100 to the Ole Miss
Athletic Foundation and $400 to an academic scholarship fund.               I have asked for more
information so that I may assess, among other things, any alleged “tangible benefits” Adams may
have received in exchange for these gifts.

       I separately demanded that the Ole Miss Athletic Foundation refund money Adams paid
it for ticket packages for the 2018 football and 2019 baseball seasons. I received a full refund of
$39,667 on the Friday before the first home SEC game, Ole Miss v. Alabama.



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       Accounted for gifts to other institutions

       In addition to gifts to the University of Mississippi, my review of bank records has
identified gifts to other institutions. These include, but are not limited to, the following gifts of
more than $10,000:

                     American Freedom Assembly                       $25,200.00
                     Berachah Church                                $100,649.00
                     Operation Grace World Missions                  $16,100.00
                     R.B. Thieme, Jr., Bible Ministries             $130,649.00
                     Rick Hughes Ministries                          $20,500.00
                     Century Club Charities, Inc.                    $56,350.00


       Adams made smaller gifts too numerous to itemize here to other organizations.
Examples include the Trump Make America Great Again campaign ($1,400), Mississippi
Children’s Home Services ($1,400), the National Rifle Association ($945), and the Wounded
Warrior Project ($120).

       My accounting is ongoing. In the meantime, I am assessing the Receivership Estate’s
rights to money gifted to any institution or organization.


       Reviewed records from banks

       I previously reported that I had received and reviewed records from First Bank of
Clarksdale, Southern Bancorp, River Hills Bank, Community Bank, and Jefferson Bank. Since
then I have received and reviewed records from Trustmark Bank, Bank Plus, and Southern
AgCredit. Cleveland State Bank still has not produced records requested of it.

       I am still reviewing all records received for completeness. I have made follow-up
requests for information as appropriate. The Court’s order of appointment authorizes me to issue
subpoenas for documents and testimony without further order of the Court and I am weighing the
necessity of doing that.




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       Reviewed records from accountant

       I previously reported that Adams and Madison Timber relied on a single accounting firm
for their bookkeeping and tax filings, and that I had only recently received copies of those
records. Since then I have reviewed those records with the assistance of Adams’s accountant.
With the Court’s approval, and after a thorough background check, I retained a forensic
accounting firm, AEA Group, to assist with my analysis, and its principal, Les Alexander,
provided an affidavit in support of the motion for preliminary injunction I filed against Billings
and McHenry in the lawsuit summarized above.


       Reviewed records from law firms

               I previously reported that I had requested copies of any and all documents relating
to Adams or Madison Timber in the possession of law firms known to have provided various
services to Adams or Madison Timber. Since then I have received and reviewed records from
Butler Snow, LLP, and Rawlings & MacInnis, P.A. I have outstanding requests with other law
firms. The Court’s order of appointment authorizes me to issue subpoenas for documents and
testimony without further order of the Court and I am weighing the necessity of doing that.


       Reviewed records from investment advisors and trust companies

       I previously reported that I had requested copies of any and all documents relating to
Adams or Madison Timber in the possession of investment advisors and trust companies that
facilitated investments in Madison Timber. Since then I have received and reviewed records
from Madison Trust Company (no relation to Madison Timber) and LourdMurray. I expect to
soon receive records from Pinnacle Trust.


       Worked with LLCs of which Adams was a member

       I previously reported that at the time he pleaded guilty, Adams was a member of at least
six active limited liability companies (“LLCs”) that own real estate. Since then, the following
LLCs have taken the following action:




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       Delta Farm Land Investments, LLC: The LLC entered into a purchase agreement to sell
its principal asset, 1170+ acres farmland in Oktibbeha County, Mississippi, on October 1, 2018.
The purchaser is currently engaged in due diligence. The LLC anticipates that the sale will close
on or before December 15, 2018. The LLC intends to dissolve after the sale and tender the
proceeds representing Adams’s interest to the Receivership Estate.

       KAPA Breeze, LLC: The member of the LLC who had been paying himself out of the
LLC’s account returned those funds to the LLC. The LLC wants to find a buyer to purchase the
interests of Adams and Kelly and thereafter continue to develop the LLC’s principal asset, 1.5+/-
acres mixed use land on Highway 30A in Florida. I would like to facilitate such a sale, but I have
not received an offer that I believe represents a fair value for those interests. I have ordered an
appraisal, but it has been delayed by Hurricane Michael. I am continuing to evaluate the
Receivership Estate’s options.

       707, LLC: The LLC sold its principal asset, 263+ acres recreational land in Holmes
County, Mississippi, for $400,000 on August 31, 2018. After paying down the mortgage and
paying transaction costs, the LLC received $13,920.15. The LLC dissolved after the sale and
tendered the proceeds representing Adams’s, Kelly’s, and McHenry’s interests to the
Receivership Estate, totaling $6,994.09.


       Conferred with federal and state authorities

       I have continued to confer with the U.S. Attorney’s Office for the Southern District of
Mississippi, the FBI, the Securities and Exchange Commission, and the Mississippi Secretary of
State’s Office regarding their investigations.


       Communicated with investors in Madison Timber

       I have continued to communicate with investors in Madison Timber via phone, letter,
email, and in-person meetings. I speak to investors almost daily.




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       Interviewed persons with knowledge

       I have continued to interview individuals with first-hand knowledge of matters bearing on
the Receivership Estate, including Adams.


       Researched legal claims against third parties

       I previously reported that my colleagues and I had begun researching legal claims against
third parties based on facts known to date. Our investigation and research necessarily continues
as new information is received. I do not publish our assessments here because to do so would be
to telegraph our legal strategies to future defendants.


       Retained a CPA to file Adams’s and Madison Timber’s taxes

       With the Court’s approval, and after a thorough conflicts check, I retained Kimberly L.
Hardy of Matthews Cutrer and Lindsay, P.A. in Jackson, Mississippi, to provide accounting and
tax preparation services for the benefit of the Receivership Estate. Hardy has prepared 2017 tax
returns for Adams and Madison Timber, and will assist me with the issuance of 1099s for the
year 2018 to investors who were then-invested in Madison Timber.


Receiver’s plan for the next 60 days

       Monetize Adams’s interests in LLCs

       Adams’s interest in 707, LLC has been resolved, as noted above. For the remaining five
LLCs, I intend to liquidate the Receivership Estate’s interest to maximize value to the
Receivership Estate. For those LLCs for which the other members intend to liquidate the LLC’s
assets and dissolve, I am overseeing these corporate actions to ensure the liquidation is for a fair
value. For those LLCs for which the other members intend to continue the LLC’s operations, I
am considering offers to purchase the Receivership Estate’s interest and I will request the
Court’s approval prior to any sale. Currently:

       Delta Farm Land Investments, LLC: As noted above, the LLC hopes to sell its principal
asset, 1170+ acres farmland in Oktibbeha County, Mississippi, on or before December 15, 2018,


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and thereafter dissolve and tender the proceeds representing Adams’s interest to the Receivership
Estate. I intend to continue to support the LLC in its efforts.

       KAPA Breeze, LLC: As noted above, the LLC wants to find a buyer to purchase the
interests of Adams and Kelly and thereafter continue to develop the LLC’s principal asset, 1.5+/-
acres mixed use land on Highway 30A in Florida. I would like to facilitate such a sale, so long as
the purchase price represents a fair value for those interests. I intend to continue to consider
offers. If I receive an offer that I believe is fair I will recommend it to the Court.

       Mallard Park, LLC: I have received and reviewed records from the LLC and intend to
continue to evaluate the Receivership Estate’s options.

       Mash Farms, LLC: The LLC’s members have expressed an interest in purchasing
Adams’s interests. I anticipate obtaining an appraisal of the LLC’s principal asset, 808+ acres
with hunting camp in Sunflower County, Mississippi. Thereafter if I receive an offer that I
believe is fair I will recommend it to the Court.

       Oxford Springs, LLC: I continue to have discussions with the LLC’s other principal
member regarding the LLC’s future. I intend to continue to evaluate the Receivership Estate’s
options.


       Liquidate Adams’s remaining assets

       I previously reported that Adams’s remaining assets are subject to forfeiture to the federal
government at his sentencing; that if forfeited, the assets likely would be sold at public auction;
and that the Receivership Estate likely can obtain a better value by liquidating them itself.

       The assets in question include the house at 134 St. Andrews Drive, Jackson, Mississippi;
the 2015 King Ranch Ford F150 truck; and any other assets in Adams’s name, including any
outstanding life insurance policies and any interests in any companies. The U.S. Attorney’s
Office has agreed to forego forfeiture proceedings to allow me to liquidate the assets myself,
provided Adams voluntarily surrenders the assets to me via a quitclaim deed or other agreement
that transfers title prior to his sentencing. Adams has preliminarily agreed to do that. In the




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meantime, we are drawing up necessary documents to transfer title to the assets in question to the
Receivership Estate.


       File additional lawsuits to recover commissions, fraudulent transfers, gifts

       I intend to file additional lawsuits to recover commissions, fraudulent transfers, and gifts
as necessary to recover money that belongs to the Receivership Estate. I continue to anticipate
that some institutions and persons, including recruiters, who received stolen money will
voluntarily pay it back to the Receivership Estate. Voluntary repayment will be welcomed, of
course, because it will save the Receivership Estate considerable expense.

       It is my position that the law permits me to try these lawsuits via a summary proceeding,
which is a faster, more efficient proceeding. Summary proceedings will minimize expense to the
Receivership Estate. In the lawsuit already filed, summarized above, McHenry consented to the
use of summary proceedings, but Billings did not.

       In the lawsuit already filed, we required as a condition of any settlement negotiation that
each defendant make a full and complete financial disclosure.         I intend to require similar
financial disclosure as a precondition to settlement as appropriate going forward.


        Continue to assess legal claims against third parties

       I intend to continue to research legal claims against third parties as long as new
information is received. In order to maximize the Receivership Estate’s position, I am not
disclosing publicly third-party targets.


       Continue communicating with investors

       I intend to continue communicating with investors, through my website, email, phone,
and letters. Investors provide information that is useful to my investigation and, in turn, I hope
that I demystify the receivership process for them.




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Summary of status of assets

          As I previously reported, my end goal, of course, is to make an equitable distribution to

victims with the money I recover. The money I have recovered to date would not go far. It may

take a long time and a lot of work to recover enough money to make a meaningful distribution,

but I am committed to pursuing recoveries for the benefit of victims as long as the Court allows.

The Receivership Estate’s most valuable assets may be the lawsuits it intends to file.


          The current status of the Receivership Estate’s assets is as follows:

Receivership Estate’s account at Hancock Bank                             current balance $2,124,386.32
Previous balance as of August 21, 2018              $2,156,639.73
Cleveland State Bank account                           +$1,447.98
707, LLC proceeds                                      +$6,994.09
Interest                                                +$713.70
Ole Miss season tickets refund                       +$39,667.00
Bank Fees                                                -$163.00
Receiver’s and Receiver’s counsel’s fees              -$70,359.00
Receivership Estate’s expenses                        -$10,554.18

Alysson Mills vs. Michael D. Billings, et al., No. 3:18-cv-679        settlement with Kelly likely; litigation
Lawsuit to recover $16,000,000 in commissions                         against Billings and McHenry ongoing

House at 134 Saint Andrews Drive, Jackson, Mississippi               subject to federal government forfeiture;
Purchased in 2011 for $364,000                                      Adams has tentatively agreed to voluntarily
Appraised in 2016 for $777,000                                           surrender to Receivership Estate
Unencumbered

Condo in Calton Hill subdivision in Oxford, Mississippi                          valuation in process;
Purchased in 2013 for $135,000                                            title is in Adams’s wife’s name
Unencumbered

2015 King Ranch Ford F150 truck                                      subject to federal government forfeiture;
Estimated $33,000                                                   Adams has tentatively agreed to voluntarily
                                                                         surrender to Receivership Estate

Hartford Life and Annuity Insurance Co. life insurance policy             surrendered for $167,206.60*

Lincoln National Life Insurance Co. life insurance policy                   surrendered for $3,678.45*

Hartford Life and Annuity Insurance Co. life insurance policy            ending account value $13,484.95

Jewelry                                                                         estimated $40,000

Firearms                                                             subject to federal government forfeiture;
                                                                    Adams has tentatively agreed to voluntarily


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                                                                          surrender to Receivership Estate

1/3      Delta Farm Land Investments, LLC                              LLC has contract to sell principal asset;
         1170+ acres farmland in Oktibbeha County                       hopes to close by December 15, 2018
         Purchased in 2014 for $2,796,100
         Encumbered by Trustmark Bank mortgage
         Owe approximately $2,200,000

1/4      KAPA Breeze LLC                                                         valuation in process
         1.5+/- acres mixed use land on Highway 30A in Florida
         Purchased in 2017 for approximately $1,900,000
         Encumbered by Jefferson Bank mortgage
         Owe approximately $1,365,000

1/4      Mallard Park, LLC                                                       valuation in process
         1,723 acres with hunting lodge in Humphreys County
         Purchased in 2016 for $2,593,500
         Encumbered by Southern AgCredit mortgage
         Owe approximately $2,000,000

1/4      Mash Farms, LLC                                                         valuation in process
         808+ acres with hunting camp in Sunflower County
         Purchased in 2014 for $1,600,000
         Encumbered by Trustmark Bank mortgage
         Owe approximately $900,000

47.5%    Oxford Springs, LLC                                                     valuation in process
         2,300+/- acres undeveloped land in Lafayette County
         Purchased in 2015 and 2016 for total of $6,158,000
         Encumbered by First Bank of Clarksdale mortgage
         Owe approximately $4,500,000

1/6      707, LLC                                                       LLC sold principal asset and dissolved;
         263+ acres recreational land in Holmes County                tendered $6,994.09 representing Adams’s,
         Purchased in 2009                                              Kelly’s, and McHenry’s interests to the
         Encumbered by First Commercial Bank mortgage                             Receivership Estate*
         Owe approximately $368,000


* Strikethrough indicates asset has been liquidated and the proceeds are accounted for in the Hancock Bank
account balance.




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